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                            EXHIBIT “A”
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION
------------------------------------------------------------------x

In re:


         LARRY WILLIAMS                                               Case No. 17-36758cgm

                 and                                                  Chapter 13

         MARILYN Y. WILLIAMS,
                                                                      HON. CECELIA G. MORRIS
                 Debtors.
------------------------------------------------------------------x

         RULE 55 OF THE FEDERAL RULES OF CIVIL PROCEDURE AFFIDAVIT

         As attorney for movant admitted to practice before this Court, I represent that upon

information and belief, the debtor is not an infant, incompetent, or in the military.



Dated: May 21, 2018


                                                     /s/__Kevin R. Toole________________
                                                       Attorney for Secured Creditor
       17-36758-cgm Doc 21-1 Filed 05/21/18 Entered 05/21/18 15:01:27                                                                                                Exhibit            Pg
Department of Defense Manpower Data Center 3 of 62                                                                                                                   Results as of : May-18-2018 03:06:59 PM

                                                                                                                                                                                                  SCRA 4.4




SSN:                          XXX-XX-9941
Birth Date:
Last Name:                    WILLIAMS
First Name:
Middle Name:
Status As Of:                 May-18-2018
Certificate ID:               PNSG8QFJ4Q72KMZ

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
             17-36758-cgm              Doc 21-1          Filed 05/21/18            Entered 05/21/18 15:01:27                    Exhibit        Pg
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                                        4 of 62
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
       17-36758-cgm Doc 21-1 Filed 05/21/18 Entered 05/21/18 15:01:27                                                                                                Exhibit            Pg
Department of Defense Manpower Data Center 5 of 62                                                                                                                   Results as of : May-18-2018 03:08:27 PM

                                                                                                                                                                                                  SCRA 4.4




SSN:                          XXX-XX-5379
Birth Date:
Last Name:                    WILLIAMS
First Name:
Middle Name:
Status As Of:                 May-18-2018
Certificate ID:               8YSK9YF84FC7KJC

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

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                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                      Service Component

                    NA                                                   NA                                                     No                                                NA

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                            EXHIBIT “C”
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                            EXHIBIT “D”
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                 Property Description Report For: 49 Ramblewood Dr,
                 Municipality of Newburgh

                                                    Status:                  Active
                                                    Roll Section:            Taxable
                                                    Swis:                    334600
                                                    Tax Map ID #:            117-3-16
      No Photo                                      Property Class:          210 - 1 Family Res
      Available                                     Site:                    RES 1
                                                    In Ag. District:         No
                                                    Site Property Class:     210 - 1 Family Res
                                                    Zoning Code:             -
                                                    Neighborhood Code:       40412
 Total Acreage/Size:      144 x 232                 School District:         Newburg
 Land Assessment:         2017 - $9,600             Total Assessment:        2017 - $103,200
 Full Market Value:       2017 - $299,700
 Equalization Rate:       ----                      Property Desc:           Lt 40 Fostertown
                                                                             Crossing Sec 4 Map
                                                                             264-99
 Deed Book:               5472                      Deed Page:               184
 Grid East:               618349                    Grid North:              991979


 Area

 Living Area:             2,352 sq. ft.             First Story Area:        1,176 sq. ft.
 Second Story Area:       1,176 sq. ft.             Half Story Area:         0 sq. ft.
 Additional Story Area:   0 sq. ft.                 3/4 Story Area:          0 sq. ft.
 Finished Basement:       0 sq. ft.                 Number of Stories:       2
 Finished Rec Room        0 sq. ft.                 Finished Area Over       0 sq. ft.
                                                    Garage


 Structure

 Building Style:          Colonial                  Bathrooms (Full - Half): 2 - 1
 Bedrooms:                4                         Kitchens:                1
 Fireplaces:              1                         Basement Type:           Full
 Porch Type:              Porch-coverd              Porch Area:              200.00
 Basement Garage Cap:     2                         Attached Garage Cap:     0.00 sq. ft.
 Overall Condition:       Good                      Overall Grade:           Average
 Year Built:              2000


 Owners

 Larry Williams               Marilyn Williams
 49 Ramblewood Dr             49 Ramblewood Dr
 Newburgh NY 12550            Newburgh NY 12550



 Sales

                          Property                                Value  Arms   Addl.   Deed Book
 Sale Date      Price     Class    Sale Type      Prior Owner     Usable Length Parcels and Page




http://propertydata.orangecountygov.com/report.aspx?file=&swiscode=334600&printk... 3/26/2018
Printer Friendly Report - Image Mate Online                                                                        Page 2 of 2
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 3/7/2001       $231,820          311 -     Land &        Rieger              Yes      Yes         No       5472/184
                                  Res       Building      Homes Inc
                                  vac
                                  land
 3/6/2001       $10               311 -     Land &        Deercreek           No       No          No       5472/181
                                  Res       Building      Corporation
                                  vac
                                  land



 Utilities

 Sewer Type:                   Comm/public                     W ater Supply:                Comm/public
 Utilities:                    Electric                        Heat Type:                    Hot wtr/stm
 Fuel Type:                    Oil                             Central Air:                  Yes



 Improvements

 Structure                 Size                        Grade                    Condition               Year
 Porch-coverd              200.00 sq ft                Average                  Good                    2000
 Misc. imprv.              1000 × 0                    Average                  Good                    2000
 Porch-open/deck           168.00 sq ft                Average                  Good                    2002
 Shed-machine              100.00 sq ft                Average                  Good                    2002
 Porch-open/deck           0 x0                        Average                  Good                    2002



 Special Districts for 2017

 Description               Units                     Percent                    Type                    Value
 FD008-Cronomer            0                         0%                                                 0
 vly fire
 WD001-Consol wtr          0                         0%                                                 0
 1
 WD002-Consol wtr          0                         0%                                                 0
 2



 Exemptions

 Year           Description       Amount         Exempt %           Start Yr        End Yr   V Flag     H Code    Own %
 2017           BAS STAR          $13,190        0                  2001                                          0




 Taxes
 Year                          Description                     Amount
 2018                          County                          $3,566.00
 2017                          County                          $3,432.27
 2017                          School                          $8,193.60


 *Taxes reflect exemptions,but may not include recent changes in
 assessment.




http://propertydata.orangecountygov.com/report.aspx?file=&swiscode=334600&printk... 3/26/2018
